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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 TIMOTHY KERRIGAN, et al.,

         Plaintiffs,                                   Case No. 14-cv-12693
                                                       Hon. Matthew F. Leitman
 v.

 VISALUS, INC., et al.,

      Defendants.
 _________________________________________________________________/

                       ORDER ON STATUS CONFERENCE

         On April 9, 2018, the Court held an on-the-record, telephonic status

 conference in this action to discuss Plaintiffs’ Fourth Amended Complaint. For the

 reasons stated during that conference, IT IS HEREBY ORDERED as follows:

       The parties shall commence discovery as of the date of this order with the sole

         exception of discovery directed towards Defendant The Living Trust dated

         9/30/91 f/b/o Robert B. Goergen (the “Trust”). Discovery directed to the

         Trust shall be stayed until further order of the Court;

       Defendants shall answer or file a motion to dismiss the Fourth Amended

         Complaint by no later than May 7, 2018. Plaintiffs shall file a response to

         any motions to dismiss that Defendants may file by no later than June 4,

         2018. Defendants may file reply briefs by no later than June 18, 2018;



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      The parties shall conduct a Rule 26(f) conference and file a Rule 26(f)

       discovery plan with the Court by no later than April 23, 2018.


                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

 Dated: April 9, 2018


 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on April 9, 2018, by electronic means and/or ordinary
 mail.
                                                s/Holly A. Monda
                                                Case Manager
                                                (810) 341-9764




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